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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                  CaseN o.18-20136-CR-M ORENO
 UNITED STATES OF AM ERICA
      Plaintiff,

 LEW IS RICH ARD BENNETT ,
       Defendant.
                                   /
                    AM ENDED NO TICE O F SENTENCIN G DATE
      DEFENDANTIS),DEFENSE COUNSEL,AND U.S ATTORNEY'S OFFICE
                                                        .


        By direction ofthe Honorable FEDERICO A . M ORENO,United StatesDistrictJudge
YOU    ARE
DistrictofFlHEREBY ORDERED to appear in the United StatesD istrict Courtfor the Southern,
            oridaon
                             JA N U A R Y 29,2019 at 10:00 a.m .
forimposition ofsentence. On the date,reportto the U .S.Courthouse,Courtroom ,13-3
Floor United StatesCourthouse                                                     , 13TH
b    ,                       , 400 N .M i
                                        am iAvenue,M iami,Florida 33128, where sentence w ill
 e imposed. You willreceiveno furthernotice.

th    Iftheabove-nameddefendantts)has/haveexecutedabondwiththisCourt, thisnoticeadvises
 edefendantts)thatfailuretoappearasdirectedherein couldresultinhis/her/theirbeing charged
wi
m thaviolationoftheComprehensiveCrimeControlAct(18U S.C.Sec.31464,whichcarriesa
                                                            .
 aximum sentenceofuptoten(10)yearsimprisonmentandafineof$25,000,orboth,ifconvicted.
       IT ISFURTHER ORDERED thjtaPresentencelnvestigatignandReport(PSR)tothisCourt
willbeSEL
COUN  complete
          AN Dd and acopy m adeavallableto thepartiesand thelrcounselc D EFEN SE
UN             THE DEFENDANTIS),IF ON BOND ARE TO REPORT THISDATE TO THE
   ITED STATES PROBATION OFFICE OF THE COURT FOR m TERVIEW AND FURTHER
INSTRUCTION (U.S.Courthouse,400N.MiamiAvenue, Room (9S41).
P      IT IS FU RTH ER O RD ERED thatthe U .S.Attom ey'sOffice imm ediately provide theU .S.
 robation Departmentthenecessary inform ation topreparetheProsecution Section ofthe
Presentence R eport.
D A TED :January 3.2019                                     STEVEN LAR IM O RE,CLERK
CO UN SEL:D 'A rsev Houlihan. A FPD
                                                            By:     *
GO V 'T:K urtLunkenheim er                                            lr ey    lstle
                                                                     D eputy Clerk
The defendant,having pled guilty asto Count
               ONE                   ofthe lnform ation and the defendant
isIn Custody.
